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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

    Irene Grantz, on her own behalf and on                )
    behalf of all others similarly situated,              )
                                                          )         Case No. 23-cv-1632
                Plaintiff,                                )
                                                          )
                        v.                                )
                                                          )
    Chicago Transit Authority,                            )
                                                          )
            Defendant.                                    )

                                               Class Action Complaint

           For her complaint against Defendant Chicago Transit Authority (the “CTA”), Irene Grantz

(“Grantz”), on her own behalf and on behalf of all others similarly situated, states as follows:

                                                       Parties

           1.         Plaintiff Grantz is a former CTA bus operator.

           2.         Defendant CTA is an independent governmental agency which operates in Chicago

and 35 surrounding suburbs and is the nation’s second largest public transportation system.

                                               Jurisdiction and Venue

           3.         This action arises under the laws of the United States—specifically, the Civil Rights

Act of 1964, 42 U.S.C. § 2000e, et seq., and the First and Fourteenth Amendments to the United

States Constitution.

           4.         This action also arises under the laws of the State of Illinois—specifically, the Illinois

Religious Freedom Restoration Act, 775 ILCS 35, et seq., and the Illinois Health Care Right of

Conscience Act, 745 ILCS 70, et seq.1




1Grantz intends to seek leave to amend her Complaint to add claims under the Illinois Human Rights Act,
upon receiving a dismissal and notice of her right to sue from the Illinois Department of Human Rights.
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         5.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 1343, and

1367.

         6.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1)(2) because the CTA

is headquartered in the Northern District of Illinois and a substantial part of the events or omissions

giving rise to Grantz’s claims occurred in this District.

         7.     This Court is authorized to grant a declaratory judgment under the Declaratory

Judgment Act, 28 U.S.C. §§2201-02, implemented through Rule 57 of the Federal Rules of Civil

Procedure.

                                                  Facts

         8.     On or around February 13, 2013, Grantz began working for the CTA as a Bus

Operator.

         9.     At all relevant times during her employment with the CTA, Grantz was a dedicated

employee who met or exceeded the CTA’s legitimate employment expectations.

         10.    Beginning in late 2019 and early 2020, a global outbreak of a virus now referred to as

COVID-19 emerged.

         11.    COVID-19 was officially declared a pandemic by the World Health Organization in

March 2020.

         12.    At that time, great efforts were made by the public and private sector alike to

develop a vaccine.

         13.    To combat the spread of the virus, public health experts opined that the public

should practice social distancing, wear masks, and isolate if showing symptoms of COVID-19.

Employers across the country began requiring employees to practice these measures—and many

began permitting remote work.




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       14.     The U.S. Food and Drug Administration eventually granted Emergency Use

Authorization for a COVID-19 vaccine, the Pfizer-BioNTech vaccine, on December 11, 2020. The

Moderna vaccine was granted Emergency Use Authorization on December 18, 2020. The Johnson

& Johnson vaccine was granted Emergency Use Authorization on February 27, 2021.

       15.     With vaccines available to the general public, employers began to mandate that

employees get vaccinated, or else suffer adverse employment actions, such as being placed on

unpaid leave or being terminated.

       16.     The CTA did not initially require that employees obtain a COVID-19 vaccine.

Throughout most of the pandemic, the CTA allowed its employees to continue working by

encouraging safety measures, such as masking and social distancing.

       17.     Grantz, like many other CTA employees, continued to work throughout the

pandemic, was viewed as essential worker, and was eventually proclaimed as one of the “unsung

heroes of the pandemic” by CTA President Dorval R. Carter Jr. (“Carter Jr.”).

       18.     The lack of a vaccine mandate throughout most of the pandemic did not cause the

CTA any undue hardship.

       19.     On September 3, 2021, approximately 10 months after the first vaccine was

authorized, the CTA announced that all CTA employees were required to be fully vaccinated against

COVID-19.

       20.     At that time, Carter Jr. proclaimed that employees had to be vaccinated in order to

“help fight off these variants and protect our loved ones and others who cannot be vaccinated.”

       21.     Carter Jr. made that proclamation even though the COVID-19 vaccines were not

tested, designed, or made to prevent transmission of COVID-19.

       22.     The mandatory COVID-19 Vaccination Policy also did not take into account the fact

that individuals who recover from COVID-19 develop antibodies or natural immunity; nor did it


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take into account the efficacy of alternative measures such as face coverings, personal protective

equipment, self-monitoring and reporting of symptoms, and/or periodic testing.

       23.     The CTA’s mandatory COVID-19 Vaccination Policy was at odds with the Federal

government’s policy allowing certain large employers to mandate vaccination or periodic testing for

their employees.

       24.     The CTA’s mandatory COVID-19 Vaccination Policy also differed substantially

from the European Union’s digital COVID-19 certificate, which considered the following as

equivalent: (1) a COVID-19 vaccine; (2) a negative COVID-19 test; or (3) having previously

recovered from COVID-19.

       25.     The CTA has claimed, and still claims, to offer religious exemptions/

accommodations, stating on their “Careers” website the following:

       The CTA complies with all federal and state laws forbidding discrimination and will
       attempt to provide a reasonable accommodation to otherwise qualified individuals to
       enable them to perform the essential functions of the job. CTA will make reasonable
       accommodations for the known disabilities of otherwise qualified applicants for
       employment as well as its employees, unless undue hardship would result. . . . CTA
       will work with you to determine if an accommodation can be provided…

       If you are an applicant requesting a COVID-19 vaccine religious accommodation or
       other, please email the Equal Employment Opportunity Unit at
       EEODiversity@transitchicago.com.

       26.     In order to obtain a religious exemption/accommodation related to the mandatory

COVID-19 Vaccination Policy, CTA employees were and are required to complete a “Request For

Religious Exemption/Accommodation Related to COVID-19 Vaccine.”

       27.     On September 16, 2021, Grantz completed and submitted her request for a religious

exemption/accommodation.

       28.     In her request for a religious exemption/accommodation, Grantz wrote, “all of the

COVID-19 vaccine products were developed and/or tested using aborted fetal cell lines… I have a

deeply held belief that this vaccine violates God’s word/The Bible… I cannot cooperate or be

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complicit in abortion in any way.” Along with her request, Grantz provided the CTA with a letter

stating her religious beliefs, as well as literature from the Michigan Department of Health about the

link between COVID-19 vaccines and fetal cell lines.

        29.      In the letter submitted with her request, Grantz wrote, “as a Christian, I cannot in

good conscience take the COVID-19 vaccines… it is my moral duty to refuse the use of medical

products that are produced using human cell lines derived from abortions… all of the COVID-19

vaccine products currently available in the US under the FDA’s EUA were developed using aborted

fetal cell lines, tested using aborted fetal cell lines, or both… it would violate my spiritual beliefs to

cooperate with or be complicit in abortion in any way… I believe in God and the principles laid out

in his teachings… I have a deeply held belief that this vaccine violates his Word/The Bible… I

believe life begins at conception… I believe the unborn have souls… I ask you to please consider

my request… I ask that no adverse actions be taken against me on account of my spiritual beliefs…

I will continue to follow safety protocols regarding COVID-19… social distancing, wearing a mask,

and rigorous sanitation at work and away from work.” Grantz cited two Bible verses in support of

her religious beliefs.

        30.      The literature that Grantz submitted with her request confirmed that Johnson &

Johnson used a fetal cell line to produce and manufacture its vaccine, that Pfizer used a fetal cell line

to test its vaccine, and that Moderna used a fetal cell line to test its vaccine.

        31.      Grantz’s sincerely held religious beliefs, rooted in scripture and religious teachings,

precluded (and still preclude) her from accepting into her body a COVID-19 vaccine, in part

because these vaccines were derived from, produced, manufactured by, tested on, developed with,

have their origins in research on, or are otherwise connected to aborted fetal cell lines.

        32.      On May 5, 2022, the CTA denied Grantz’s request for an

exemption/accommodation, claiming that the accommodation she had requested somehow


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infringed on the rights of other employees and compromised workplace safety. Despite this claim,

the CTA granted exemptions/allowed accommodations for other employees, due to their religious

beliefs. Despite this claim, the CTA allowed some unvaccinated employees to continue working.

       33.     Grantz continued to hold true to her beliefs and continued to refuse (and to this day

has refused) to obtain a COVID-19 vaccine.

       34.     Despite the CTA’s insistence that every employee had to be vaccinated against

COVID-19 in order to work for the CTA—as well as its claim that Grantz’s vaccination status

violated the rights of others and compromised workplace safety—the CTA allowed Grantz to

continue working while unvaccinated until July 14, 2022.

       35.     On May 8, 2022, Grantz contacted the CTA’s EEO Department, stated that she did

not understand why her request had been denied, and asked for additional information about the

denial. The EEO Department told her that it would not provide any more information and that

there was nobody else she could speak with about the denial.

       36.     On or around May 19, 2022, Grantz contracted COVID-19. Thereafter, she fully

recovered and developed natural antibodies/immunity to COVID-19. The CTA was aware of this.

       37.     On June 9, 2022, Grantz met with management to discuss her ongoing inability to

become vaccinated against COVID-19. She explained that receiving a vaccine would violate her

religious beliefs and that she could not in good conscience do so. Grantz asked, once again, for an

accommodation and explained that she would be willing to comply with all alternative safety

measures, like testing, masking, and social distancing. In response, the CTA gave Grantz a final

warning and informed her that she had 7 days to become vaccinated against COVID-19.

       38.     On July 14, 2022, Grantz met with management once again to discuss her ongoing

inability to become vaccinated against COVID-19. She explained that she could not receive a

COVID-19 vaccine in good conscience due to her religious beliefs and asked for an


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accommodation. In response, the CTA removed Grantz from service and informed her that she

would be terminated on July 21, 2022 if she failed to become vaccinated against COVID-19. Grantz

held true to her beliefs.

        39.     On July 21, 2022, the CTA terminated Grantz for failing to become vaccinated

against COVID-19.

        40.     Upon information and belief, the CTA has never required the public to get

vaccinated in order to utilize its public transportation services.

        41.     Upon information and belief, the CTA has never required its employees to obtain

vaccine boosters.

        42.     Upon information and belief, the CTA has allowed other employees to continue

working even though they are not vaccinated against COVID-19 and have not been granted

exemptions/accommodations related to the policy.

        43.     As a result of the CTA’s actions, Grantz and hundreds of other similarly situated

employees have sustained damages including, but not limited to, lost income, lost bonuses, lost

insurance, lost company benefits, and emotional distress.

                                           Class Allegations

        44.     Through this action, Grantz seeks to represent a class of all CTA employees who 1)

have requested or will request religious exemptions/accommodations related to the mandatory

COVID-19 Vaccination Policy and 2) who have had those requests denied.

        45.     Grantz brings this class action under Federal Rules of Civil Procedure 23(a) and (b).

        46.     The class is so numerous that joinder of all members is impractical. Based on FOIA

information obtained by counsel, the exact class size appears to be 530+.

        47.     There are questions of law and fact common to all members of the class. Those

common questions include, but are not limited to, the following:


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                a. Did the CTA comply with federal and state law when it denied religious exemption

                     and accommodation requests to the vast majority (~93%) of those who applied?

                b. Whether the CTA properly reviewed and analyzed the religious exemption and

                     accommodation requests;

                c. Whether the CTA properly concluded that it could not accommodate the vast

                     majority of those who applied for religious exemptions;

                d. Whether the CTA improperly questioned the validity of employees’ religious beliefs;

                e. Whether the CTA had an undue hardship to deny the vast majority of religious

                     exemption requests;

                f. Whether the process itself, which led to a ~93% denial rate, was a sham;

                g. Whether the CTA violated federal and state law when it granted some religious

                     exemption requests, and provided for some reasonable accommodations, even while

                     denying Grantz’s similar requests;

                h. Whether the CTA complied with its obligations under federal law to engage in the

                     interactive process when responding to each exemption request;

                i.   Whether the CTA exhibited bias against exemptions in favor of an agenda to

                     increase vaccination rates; and

                j.   Whether the CTA properly concluded that unvaccinated employees posed a risk to

                     other employees or the public.

          48.        Grantz’s claims are typical of the claims of the proposed class because she, like the

proposed class members, requested a religious exemption/accommodation related to the mandatory

COVID-19 Vaccination Policy, and the CTA denied their requests.

          49.        For the same reason, Grantz will fairly and adequately protect the interests of the

class.


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        50.      The questions of law or fact common to the members of the class predominate over

any questions affecting only individual members, and a class action is superior to other available

methods for fairly and efficiently adjudicating Grantz’s claims. Joinder of all members is

impracticable.

              COUNT I – VIOLATION OF TITLE VII, 42 U.S.C. § 2000e, et seq.

        51.      Grantz hereby realleges and adopts each and every allegation in paragraphs 1-50 as if

fully set forth herein.

        52.      Title VII of the Civil Rights Act of 1964 prohibits the CTA from discriminating

against its employees on the basis of their sincerely held religious beliefs. See 42 U.S.C. §2000e-2(a)

        53.      Grantz holds sincere religious beliefs that preclude her from receiving a COVID-19

vaccine.

        54.      Grantz informed the CTA of those beliefs and requested a religious exemption

from/accommodation related to the vaccine mandate.

        55.      The CTA failed to properly engage in the interactive process with Grantz.

        56.      The CTA failed to provide Grantz with a religious exemption/accommodation,

thereby discriminating against Grantz because of her religious beliefs.

        57.      The CTA did not, and does not, have any undue hardship to justify the denial of

Grantz’s religious exemption/accommodation request.

        58.      Grantz did not pose any danger to the workplace; the CTA allowed her to work,

while unvaccinated, for 7+ months before initially denying her request for an

exemption/accommodation—and for an additional 2+ months thereafter.

        59.      The CTA’s failure to provide Grantz a religious exemption/accommodation has

harmed and will continue to harm Grantz.




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        60.      Grantz has filed a charge with the EEOC complaining of these discriminatory

actions, has received a “Right to Sue” letter, and is filing this complaint within 90 days thereof.

        WHEREFORE, Grantz respectfully prays for relief against the CTA as set forth in the

Prayer for Relief set out below.

                 COUNT II – VIOLATION OF THE FIRST AMENDMENT
                              FREE EXERCISE CLAUSE

        61.      Grantz hereby realleges and adopts each and every allegation in paragraphs 1-50 as if

fully set forth herein.

        62.      The Free Exercise Clause of the First Amendment to the United States Constitution

(made applicable to the states by the Fourteenth Amendment) provides that “Congress shall make

no law respecting an establishment of religion, or prohibiting the free exercise thereof…” U.S.

CONST. amend. I.

        63.      The CTA’s mandatory vaccine policy substantially burdened Grantz’s free exercise of

religion by unlawfully conditioning her employment on Grantz abandoning her religious beliefs.

        64.      The CTA’s mandatory vaccine policy was not neutral and generally applicable as the

CTA granted some religious exemption/accommodation requests, but denied a similar request made

by Grantz.

        65.      The CTA engaged in a process of individualized assessments/exemptions when it

reviewed requests for religious exemptions/accommodations.

        66.      The CTA’s termination of Grantz cannot be justified by a compelling governmental

interest and was not narrowly tailored to advance any such interest.

        WHEREFORE, Grantz respectfully prays for relief against the CTA as set forth in the

Prayer for Relief set out below.




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               COUNT III – VIOLATION OF FOURTEENTH AMENDMENT
                               EQUAL PROTECTION

         67.     Grantz hereby realleges and adopts each and every allegation in paragraphs 1-50 as if

fully set forth herein.

         68.     The Equal Protection Clause of the Fourteenth Amendment requires that the

government treat similarly situated persons alike.

         69.     The CTA has violated Grantz’s right to equal protection by granting religious

exemption/accommodation requests to some similarly situated employees but denying the same to

her.

         70.     The CTA has violated Grantz’s right to equal protection by continuing to employ

certain bus operators that are not vaccinated, but refusing to continue to employ Grantz on an equal

basis.

         71.     Under the Equal Protection Clause, government actions and laws which burden a

fundamental right and treat persons unequally based on an inherently suspect classification are

subject to strict scrutiny.

         72.     The CTA cannot satisfy strict scrutiny.

         WHEREFORE, Grantz respectfully prays for relief against the CTA as set forth in the

Prayer for Relief set out below.

         COUNT IV – VIOLATION OF THE ILLINOIS HEALTH CARE RIGHT OF
                          CONSCIENCE ACT, 745 ILCS 70

         73.     Grantz hereby realleges and adopts each and every allegation in paragraphs 1-50 as if

fully set forth herein.

         74.     The Illinois Health Care Right of Conscience Act (the “Act”) protects Grantz’s

rights to engage in the exercise of her sincerely held religious beliefs without fear of discrimination

from any entity, whether public or private, including the CTA.


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        75.     In fact, the State of Illinois has declared it to be the public policy of the State to

protect the religious conscience rights of all individuals in the State of Illinois as it relates to health

care services. The Illinois Health Care Right of Conscience Act provides, specifically:

        The General Assembly finds and declares that people and organizations hold
        different beliefs about whether certain health care services are morally acceptable. It
        is the public policy of the State of Illinois to respect and protect the right of
        conscience of all persons who refuse to obtain, receive or accept, or who are
        engaged in, the delivery of, arrangement for, or payment of health care
        services and medical care whether acting individually, corporately, or in
        association with other persons; and to prohibit all forms of discrimination,
        disqualification, coercion, disability or imposition of liability upon such
        persons or entities by reason of their refusing to act contrary to their
        conscience or conscientious convictions in providing, paying for, or refusing
        to obtain, receive, accept, deliver, pay for, or arrange for the payment of health
        care services and medical care. It is also the public policy of the State of Illinois to
        ensure that patients receive timely access to information and medically appropriate
        care.

745 ILCS 70/2 (emphasis added).

        76.     In furtherance of the State of Illinois public policy of protecting the religious

conscience rights of all Illinoisans to exercise their sincere religious convictions in their medical

decision-making, the Illinois Health Care Right of Conscience Act states:

        It shall be unlawful for any person, public or private institution, or public official
        to discriminate against any person in any manner, including but not limited to,
        licensing, hiring, promotion, transfer, staff appointment, hospital, managed care
        entity, or any other privileges, because of such person’s conscientious refusal
        to receive, obtain, accept, perform, assist, counsel, suggest, recommend, refer
        or participate in any way in any particular form of health care services
        contrary to his or her conscience.

745 ILCS 70/5 (emphasis added).

        77.     The Illinois Health Care Right of Conscience Act further provides:

        It shall be unlawful for any public or private employer, entity, agency,
        institution, official or person, including but not limited to, a medical, nursing or
        other medical training institution, to deny admission because of, to place any
        reference in its application form concerning, to orally question about, to impose any
        burdens in terms or conditions of employment on, or to otherwise discriminate
        against, any applicant, in terms of employment, admission to or participation in
        any programs for which the applicant is eligible, or to discriminate in relation
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        thereto, in any other manner, on account of the applicant’s refusal to receive,
        obtain, accept, perform, counsel, suggest, recommend, refer, assist or
        participate in any way in any forms of health care services contrary to his or
        her conscience.

745 ILCS 70/7 (emphasis added).

        78.     The Illinois Health Care Right of Conscience Act defines “Health care” broadly to

include vaccinations. Specifically, it provides that “Health Care”:

        means any phase of patient care, including but not limited to, testing; diagnosis;
        prognosis; ancillary research; instructions; family planning, counselling, referrals, or
        any other advice in connection with the use or procurement of contraceptives and
        sterilization or abortion procedures; medication; surgery or other care or
        treatment rendered by a physician or physicians, nurses, paraprofessionals or
        health care facility, intended for the physical, emotional, and mental well-being of
        persons.

745 ILCS 70/3 (a) (emphasis added).

        79.     The Illinois Health Care Right of Conscience Act defines “Conscience,” as “a

sincerely held set of moral convictions arising from belief in or relation to God, or which, though

not so derived, arises from a place in the life of its possessor parallel to that filled by God among

adherents to religious faiths.” 745 ILCS 70/3(e).

        80.     A violation of the Illinois Health Care Right of Conscience Act provides for the

following remedies:

        Any person, association, corporation, entity or health care facility injured by
        any public or private person, association, agency, entity or corporation by
        reason of any action prohibited by this Act may commence a suit therefor,
        and shall recover threefold the actual damages, including pain and suffering,
        sustained by such person, association, corporation, entity or health care
        facility, the costs of the suit and reasonable attorney’s fees; but in no case
        shall recovery be less than $2,500 for each violation in addition to costs of the
        suit and reasonable attorney’s fees. These damage remedies shall be
        cumulative, and not exclusive of other remedies afforded under any other
        state or federal law.

745 ILCS 70/12 (emphasis added).




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        81.     The Illinois Health Care Right of Conscience Act acts as a super statute in Illinois,

preempting and superseding all other acts and portions of acts that conflict with the explicit policies

contained in the statute.

        82.     Specifically, the Illinois Health Care Right of Conscience Act states: “This Act shall

supersede all other Acts or parts of Acts to the extent that any Acts or parts of Acts are inconsistent

with the terms or operation of this Act.” 745 ILCS 70/14.

        83.     Even as a public institution, the CTA is subject to the provisions of the Illinois

Health Care Right of Conscience Act. The CTA is therefore prohibited from discriminating against

Grantz for her refusal to accept one of the vaccines on account of her sincerely held religious beliefs

        84.     Grantz’s sincerely held religious beliefs, which were articulated to the CTA under the

signed written requests required by the mandatory COVID-19 Vaccination Policy, constitutes

Grantz’s “conscience” under the Act because they are “a sincerely held set of moral convictions

arising from belief in or relation to God.” 745 ILCS 70/3(e).

        85.     The COVID-19 vaccines constitute “Health care” under the Act because they are a

“phase of patient care,” “medication,” and “other care or treatment rendered by a physician or

physicians, nurses, paraprofessionals or health care facility, intended for the physical, emotional, and

mental well-being of persons.” 745 ILCS 70/3(a).

        86.     The Act does not provide any defense to discriminate against Grantz based on so-

called “undue hardship.” Rojas v. Martell, 2020 IL App (2d) 190215, ¶ 43.

        87.     By imposing its mandatory COVID-19 Vaccination Policy upon Grantz and refusing

to grant her a religious exemption from/accommodation related to the mandatory COVID-19

Vaccination Policy, the CTA has impermissibly, unlawfully, and unconscionably discriminated

against Grantz because of her conscientious refusal to receive or accept one of the three currently




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available COVID-19 vaccines in contradiction to her rights of conscience and sincerely held

religious beliefs.

        88.      By taking adverse employment action against Grantz for failure to comply with the

mandatory COVID-19 Vaccination Policy, the CTA has impermissibly discriminated against Grantz

on account of her sincerely held religious objections to receiving or accepting one of the three

COVID-19 vaccines in violation of 745 ILCS 70/5.

        89.      The mandatory COVID-19 Vaccination Policy, as applied, is a gross violation of

Grantz’s sincerely held beliefs, and her right of conscience under the Illinois Health Care Right of

Conscience Act.

        90.      The mandatory COVID-19 Vaccination Policy, as applied, is an impermissible

discrimination against Grantz on the basis of her sincerely held religious beliefs, and in violation of

Grantz’s rights of conscience under the Illinois Health Care Right of Conscience Act.

        WHEREFORE, Grantz respectfully prays for relief against the CTA as set forth in her

Prayer for Relief set out below.

          COUNT V – VIOLATION OF THE ILLINOIS RELIGIOUS FREEDOM
                            RESTORATION ACT

        91.      Grantz hereby realleges and adopts each and every allegation in paragraphs 1-50 as if

fully set forth herein.

        92.      The Illinois Religious Freedom Restoration Act provides:

        “Government may not substantially burden a person’s exercise of religion, even if
        the burden results from a rule of general applicability, unless it demonstrates that
        application of the burden to the person (i) is in furtherance of a compelling
        governmental interest and (ii) is the least restrictive means of furthering that
        compelling governmental interest.”

(775 ILCS 35).

        93.      The CTA’s mandatory vaccine policy substantially burdened Grantz’s exercise of

religion by conditioning her employment on Grantz abandoning her religious beliefs.
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        94.     The CTA cannot meet its burden of demonstrating that its termination of Grantz,

and of others similarly situated, was in furtherance of a compelling governmental interest and that it

was the least restrictive means of furthering that interest.

        WHEREFORE, Grantz respectfully prays for relief against the CTA as set forth in her

Prayer for Relief set out below.

                                             Jury Demand

        Grantz demands a jury trial pursuant to Rule 38(b) of the Federal Rules of Civil Procedure.

                                           Prayer for Relief

        WHEREFORE, Grantz respectfully prays for relief as follows:

        1.      That the Court certify this action as a class action under Federal Rules of Civil

Procedure 23(a) and (b);

        2.      That this Court render a Declaratory Judgment declaring that the CTA’s mandatory

COVID-19 Vaccination Policy, as applied by the CTA, is illegal and unlawful under Title VII, 42

U.S.C. § 2000e, et seq.; the Free Exercise Clause of the First Amendment to the United States

Constitution; the Equal Protection Clause of the Fourteenth Amendment to the United States

Constitution; the Illinois Religious Freedom Restoration Act; and the Illinois Health Care Right of

Conscience Act, 745 ILCS 70/5 and 745 ILCS 70/7—and further declaring that: by terminating

Grantz (and others similarly situated) from employment with the CTA, the CTA has unlawfully

discriminated against Grantz, and others similarly situated, on account of sincerely held religious

objections to receiving or accepting a COVID-19 vaccine;

        3.      That this Court adjudge, decree, and declare the rights and other legal obligations

and relations within the subject matter here in controversy so that such declaration shall have the

full force and effect of final judgment.




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        4.        That this Court retain jurisdiction over the matter for the purposes of enforcing the

Court’s order; and

        5.        That the CTA be found liable, that judgment be entered against it, and that Grantz,

as well as all those similarly situated, be awarded all remedies to which they may be entitled under

the law, including:

             a.   back pay, including lost benefits;
             b.   front pay, including benefits (or reinstatement);
             c.   compensatory damages, including for emotional distress;
             d.   actual damages in an amount to be proven at trial (but not less than $2,500 per
                  violation, as provided by 745 ILCS 70/12);
             e.   treble actual damages, including those for emotional distress and pain and suffering,
                  as provided by 745 ILCS 70/12;
             f.   nominal damages;
             g.   reasonable costs and expenses of this action, including reasonable attorneys’ fees and
                  expert fees; and
             h.   such other and further relief as the Court deems equitable and just under the
                  circumstances.

                                                                 Respectfully Submitted by,


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                                                                 /s/ Steve Molitor
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